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certr1 _Dia Marie Moon
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

Case number: p\K-S- 2\- 14986-M KN

Form NVB 1340 (12/19)

APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

1. Claim Information

For the benefit of the Claimant(s)' named below, application is made for the payment of unclaimed
funds on deposit with the court. | have no knowledge that any other party may be entitled to these
funds, and | am not aware of any dispute regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

Amount: & t AP 5 +3

Claimant's Name: Dia Marie. Moon

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Telegrons Number and 702 Thy - g A

Email Address: Diamoeon7d2.@ qmal | COM

2. Applicant information

Claimant's Current G4 / Porev r van Srreét
t]

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check
the statements that apply):

x Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing
on the records of the court.

oO Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase,
merger, acquisition, succession or by other means.

o Applicant is Claimant’s representative (e.g., attorney or unclaimed funds locator).

o Applicant is a representative of the deceased Claimant's estate.

' The Claimant is the party entitled to the unclaimed funds.

> The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3 The Owner of Record is the original payee.
3. Supporting Documentation ~
XK Applicant has read the court’s instructions for filing an Application for Unclaimed Funds and is
providing the required supporting documentation as a supplement to this application. If

applicant is filing electronically, supporting documents must be filed using the correct docket
event.

4. Notice to United States Attorney

Dana Tinta
DOU VU CMT

Applicant has sent a copy of this application and supporting documentation to the United
States Attorney, pursuant to 28 U.S.C. § 2042, at the following address:

Office of the United States Attorney District
of Nevada
501 Las Vegas Boulevard South, Suite 1100
Las Vegas, Nevada 89101

5. Applicant Declaration 5. Co-Applicant Declaration (if applicable)
Pursuant to 28 U.S.C. § 1746, | declare under Pursuant to 28 U.S.C. § 1746, | declare under
penalty of perjury under the laws of the United penalty of perjury under the laws of the United
States of America that the foregoing is true and States of America that the foregoing }§ true and

correct. correct.
Date: Ma icy) 2,, 2024 Date:
by enn Lo
Signature of Applicant Signature of ene (if applicable)
Moon
Printed Name of Applicant Printed Name of/Co-Applicant (if applicable)

6\47 Forever Paw or. /
Address: Las Vegas ! ag meee /

/

Telephone: 792-280-@) IS Toéohone
Email: Diamoon7#2eamail.com Email

Form 1340 Application for Payment of Unclaimed Funds Page 2
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6. Notarization “~~ &" Notarization 9
STATE OF _\Aw uc STATE OF Z
COUNTY OF (yo ie COUNTY OF LZ
This Application for Unclaimed Funds, dated This Application for Unclaimed Punds, dated
= ‘le 4 was subscribed and sworn was subscribéd and sworn to
tbefore me this “, day of yay , 205.4 by | before me this__ day of , 20 by

Le fare VW

who signed above and is personally known to
me (or proved to me on the basis of satisfactory
evidence) to be the person whose name is
subscribed to the within instrument. WITNESS
my hand and official seal.

i

Notary Publi¢ WY vi A

(SEAL)

My commission expires:

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ALELY

Sit »
Ss Ae

» A.R. MARTINEZ

At. $2 NOTARY PUBLICSTATE OF NEVADA

ss 3-} Appointment Recorded in Clark County
j No: 01-69340-1

Expires September 14, 2024

Please attach notarization as a
separate document if needed.

1

who signed above arid is personally known to me
(or proved to mg’on the basis of satisfactory
evidence) to the person whose name is
subscribed to’the within instrument. WITNESS
my hand and official seal.

(SEAL Notary Public

My commission expires:

Please attach notarization as a
separate document if needed.

Form 1340

Application for Payment of Unclaimed Funds

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